   Case: Case 2:09-cr-00733-ER
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                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                                 _____________

                                       No. 16-2684
                                      _____________

                                    UNITED STATES

                                            v.

                                  JONATHAN COBB,
                                              Appellant
                                    ______________

                       Appeal from the United States District Court
                         for the Eastern District of Pennsylvania
                          (District Court No. 2:09-cr-0733-001)
                           District Judge: Hon. Alan N. Bloch
                                     ______________

                   Submitted Pursuant to Third Circuit L.A.R. 34.1(a)
                                  February 9, 2017
                                  ______________

             Before: McKEE, RENDELL, and FUENTES, Circuit Judges.
                               _____________

                                       JUDGMENT
                                      _____________

       This cause came on to be heard on the record from the United States District Court

for the Eastern District of Pennsylvania and was submitted pursuant to Third Circuit

L.A.R. 34.1(a) on February 9, 2017.

       On consideration whereof, it is hereby ORDERED and ADJUDGED by this court

that the district court’s order entered on April 11, 2016 be AFFIRMED. All of the above

in accordance with the opinion of this court.
          Case: Case 2:09-cr-00733-ER
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                                                                    Filed: 206/26/2017
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                                                     Attest:



                                                     s/Marcia M. Waldron
                                                     Clerk


              Dated: June 2, 2017




Certified as a true copy and issued in lieu
of a formal mandate on     06/26/17

Teste:
Clerk, U.S. Court of Appeals for the Third Circuit
